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17   Interim Co-Lead Class Counsel for the Settlement Class
18                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
19
     IN RE ZOOM VIDEO COMMUNICATIONS,                CASE NO. 3:20-cv-02155-LB
20   INC. PRIVACY LITIGATION
21                                                    PLAINTIFFS’ NOTICE OF MOTION AND
     This Document Relates To:                        MOTION FOR ATTORNEYS’ FEES,
22                                                    EXPENSES, AND SERVICE PAYMENTS;
         ALL ACTIONS                                  MEMORANDUM OF POINTS AND
23                                                    AUTHORITIES IN SUPPORT THEREOF

24                                                   Judge:       Hon. Laurel Beeler
                                                     Courtroom:   B-15th floor
25                                                   Date:        April 7, 2022
                                                     Time:        9:30 a.m.
26

27

28
        NOTICE OF MOT. AND MOT. FOR ATTYS’ FEES, EXPENSES, AND SERVICE PAYMENTS;
                                 CASE NO: 3:20-cv-02155-LB
 1                               NOTICE OF MOTION AND MOTION
 2          TO ALL PARTIES AND THEIR RESPECTIVE ATTORNEYS OF RECORD:
 3          PLEASE TAKE NOTICE that on April 7, 2022, at 9:30 a.m., in Courtroom B of the United
 4   States District Court for the Northern District of California, San Francisco Courthouse, 15th Floor,
 5   450 Golden Gate Ave., San Francisco, CA 94102, the Honorable Magistrate Judge Laurel Beeler
 6   presiding, Plaintiffs will and hereby move for an order pursuant to Rules 23(h)(1) and 54(d)(2) of
 7   the Federal Rules of Civil Procedure (“Rule”) awarding: (i) Attorneys’ Fees to Class Counsel in the
 8   amount of $21,250,000, which is 25% of the $85,000,000 non-reversionary Settlement Fund; (ii)
 9   unreimbursed expenses totaling $130,842.24 that Class Counsel reasonably and necessarily
10   incurred in furtherance of the prosecution of this Action; and (iii) Service Payments of $5,000 for
11   each of the twelve Plaintiffs.1 The hearing will be held via Zoom. Settlement Class Members and
12   the general public can access or attend the hearing using the following credentials:
13                                              https://cand-
14         uscourts.zoomgov.com/j/1614698626?pwd=eXlQRThFajBjT0tieVBaYWpjMjFodz09
15                             Webinar ID: 161 469 8626; Password: 546984
16          This motion is based upon this Motion, the Memorandum of Points and Authorities, the
17   accompanying Joint Declaration of Mark C. Molumphy and Tina Wolfson in Support of Plaintiffs’
18   Motion for 1) Final Approval of Class Action Settlement; and 2) Motion for Award of Attorneys’
19   Fees, Expenses, and Service Payments (“Joint Decl.”) and all exhibits attached thereto, the
20   Declaration of Cameron R. Azari on Implementation and Adequacy of Settlement Notice Plan and
21   Notices (“Azari Decl.”) and all exhibits attached thereto, the pleadings on file in this Action, and
22   other such matters and argument as the Court may consider at the hearing on this motion.
23                            STATEMENT OF ISSUES TO BE DECIDED
24           1.     Whether the Court should award $21,250,000, which is 25% of the $85,000,000

25   non-reversionary Settlement Fund, to Class Counsel as attorneys’ fees;

26

27   1
       Unless otherwise defined herein, capitalized words and terms shall have the same meaning as
     ascribed to them in the Class Action Settlement Agreement and Release (“Settlement Agreement”).
28   Dkt. No. 191-1.
      NOTICE OF MOT. AND MOT. FOR ATTYS’ FEES, EXPENSES, AND SERVICE PAYMENTS; 1
                                      CASE NO: 3:20-cv-02155-LB
 1           2.     Whether the Court should award $130,842.24 in unreimbursed expenses that Class

 2   Counsel reasonably and necessarily incurred in furtherance of the Action; and

 3           3.     Whether the Court should award Service Payments of $5,000 to each of the twelve

 4   Plaintiffs for their time and effort in pursuing this Action.

 5                                                Respectfully submitted,
 6   DATED: January 28, 2022
                                                    /s/ Mark C. Molumphy
 7                                                     Mark C. Molumphy

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16   DATED: January 28, 2022                       /s/ Tina Wolfson
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                               CASE NO: 3:20-cv-02155-LB
 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2    I.    INTRODUCTION

 3           Class Counsel respectfully move the Court for an attorneys’ fee award of 25% of the
 4   $85,000,000 non-reversionary Settlement Fund that Zoom Video Communications, Inc. (“Zoom”)
 5   has agreed to pay to settle this hard-fought litigation. The amount sought is reasonable given the
 6   substantial work performed in the case, the significant recovery obtained for the Settlement Class,
 7   including $85 million in cash, as well as more than sixteen key injunctive relief terms that address
 8   the claims asserted in this case, i.e., that Zoom lacked true end-to-end encryption, that Zoom shared
 9   user data without consent, and that Zoom failed to prevent or properly warn users of Zoombombing.
10   Under Ninth Circuit and other relevant authorities, the fee award of 25% is fair and reasonable
11   given the tremendous results achieved in the case. Moreover, the amount requested is also
12   appropriate under the lodestar/multiplier cross-check as the total lodestar of $6,703,688 is
13   reasonable in light of Class Counsel’s efforts, and the multiplier of 3.17 is within the range of
14   multipliers approved by courts and further warranted given the quality of the Settlement.
15           As a result of the Settlement, Settlement Class Members who paid for Zoom’s flagship
16   “Meetings” app (between March 30, 2016 and July 30, 2021), have the right to submit a Claim to
17   receive the higher of $25 or 15% of the total amount they paid for their core Zoom Meetings
18   subscription. Settlement Class Members who did not pay for a subscription (and used Zoom
19   anytime between March 30, 2016 and July 30, 2021), have the right to submit a Claim to receive
20   $15. Pursuant to the terms of the Settlement, all Claims may be increased or decreased depending
21   on the volume of Claims submitted. At this stage of the Claims process, it appears that all
22   Settlement Class Members who submit a valid Claim will see an increase of these amounts.
23           Class Counsel also respectfully request reimbursement of their reasonable expenses in the
24   total amount of $130,842.24 and for the Court to award Service Payments of $5,000 to each of the
25   twelve Plaintiffs for their time and efforts in this successful Action.
26          A.      Background of the Litigation

27          After a year and a half of hard-fought and contentious litigation, the Parties reached an
28   agreement to resolve the Settlement Class Members’ claims against Zoom pursuant to the terms
      NOTICE OF MOT. AND MOT. FOR ATTYS’ FEES, EXPENSES, AND SERVICE PAYMENTS;                         1
                               CASE NO: 3:20-cv-02155-LB
 1   and conditions of the Settlement Agreement. See Settlement Agreement (“SA”), Dkt. No. 191-1.
 2   The Settlement was reached after extensive arm’s-length negotiations between experienced
 3   counsel, including multiple mediation sessions and additional negotiations facilitated by a highly
 4   respected mediator, Judge Jay C. Gandhi (Ret.), motion practice, contentious discovery practice,
 5   analysis of voluminous information, and consultation with experts. The Settlement Agreement
 6   provides both monetary and injunctive relief: Zoom will pay $85 million in cash and make
 7   meaningful changes relating to its operations, its Meetings app, and its privacy practices.
 8          During the course of the litigation, Mark C. Molumphy of Cotchett, Pitre & McCarthy and
 9   Tina Wolfson of Ahdoot & Wolfson (collectively “Class Counsel”) performed a significant amount
10   of work, including:
11         Conducting a thorough investigation of the Action to develop the theories of liability and
12          determine the facts that formed the basis of the allegations against Zoom. The research
            included a review of publicly available information on Zoom’s digital privacy and data
13          security practices and unauthorized intrusions into video conferences, as well as numerous
            scholarly and technical publications regarding cybersecurity best practices applicable to this
14          case, as well as all aspects of consumer data collection and sharing, including dark patterns,
            co-mingling, anonymization and de-anonymization, and data monetization. Additionally,
15
            Class Counsel consulted with technical forensic experts as well as privacy damages experts
16          to form potential theories of liability as well as damage theories. Class counsel also
            conducted in-house forensics on various devices to ascertain Zoom’s consumer data
17          collection practices during different periods of time. The pre-suit investigation also
            included interviews with hundreds of class members regarding their experiences using
18          Zoom;
19
           Drafting and extensively researching the initial complaints filed by Class Counsel’s clients
20          and the three subsequent consolidated complaints which detailed Zoom’s various violations,
            including but not limited to, Zoom’s liability related to meeting intrusions, invasion of
21          privacy rights, sharing of user data without consent, implied contract and implied covenant
            of good faith and fair dealing, unlawful and unfair prongs under the UCL, identifying and
22          describing the claims of Plaintiffs on behalf of the Settlement Class;
23
           Successfully opposing Zoom’s motion to dismiss and evidentiary submission, and
24          conducting exhaustive legal research, much of which was new law, including legal theories
            surrounding the collection, co-mingling, and sharing of consumer information by technical
25          applications on various consumer devices, cybersecurity liability, and online content
            publisher immunity;
26

27         Engaging in a comprehensive discovery program, including pursuing documents from
            Zoom, serving subpoenas on over a dozen third parties, consultations with experts regarding
28          appropriate search terms, extensive search term negotiations and motion practice, and
      NOTICE OF MOT. AND MOT. FOR ATTYS’ FEES, EXPENSES, AND SERVICE PAYMENTS;                         2
                               CASE NO: 3:20-cv-02155-LB
            review of tens of thousands of pages of documents produced by Zoom, and additional
 1          documents from third parties and governmental sources;
 2
           Contending with near-constant discovery disputes, requiring weekly discussions and
 3          lengthy meet and confer calls with opposing counsel;

 4         Briefing and arguing several discovery motions before Magistrate Judge Susan van Keulen
            and Judge Lucy Koh resulting in orders that required Zoom to review and produce hundreds
 5
            of thousands of documents (Dkt. Nos. 165, 174, 175);
 6
           Responding to Zoom’s 60 written discovery requests to each of the 14 Plaintiffs, conducting
 7          extensive meet and confers, and reviewing and producing thousands of documents on behalf
            of Plaintiffs;
 8

 9         Negotiating at length an ESI protocol, protective order, and search terms and custodians,
            including briefing disputes over the scope of discovery in the case and appropriate search
10          terms given the claims in the case;

11         Consulting with technical experts on various issues relevant to the Action prior to and during
            the course of the litigation, as well as during settlement negotiations, including the
12
            injunctive relief relating to data encryption and privacy improvements. Class Counsel also
13          consulted with a damages expert to value the claims of the Settlement Class;

14         Engaging in nine months of settlement negotiations, including four formal mediation
            sessions and numerous additional discussions;
15

16         Participating in extended injunctive relief negotiations, spanning several months, resulting
            in over sixteen significant, meaningful changes to Zoom’s policies, business, and products
17          which greatly benefits the Settlement Class Members;

18         Obtaining several competitive bids for the class notice and claims administration, and
            negotiating every aspect of said programs and costs to ensure the best practicable and most
19
            cost-efficient settlement notice and administration program;
20
           Collaborating with class action notice experts to create and oversee one of the largest class
21          notice programs in class action history, with notice sent to more than 150 million Settlement
            Class Members, including reminder emails and postcards, a social media program, and
22          internet advertising;
23
           Documenting the Settlement with Zoom and briefing the preliminary approval and final
24          approval motions, as well as preparing for and attending the hearings on the motion;

25         Overseeing the notice and claims administration process; and
26
           Coordinating with plaintiffs’ counsel in concurrent state cases to ensure efficient and
27          effective litigation against Zoom.

28   See Joint Decl. ¶¶ 9-49.
      NOTICE OF MOT. AND MOT. FOR ATTYS’ FEES, EXPENSES, AND SERVICE PAYMENTS;                         3
                               CASE NO: 3:20-cv-02155-LB
 1          All told, Class Counsel devoted thousands of hours and advanced significant out-of-pocket
 2   expenses to develop and prosecute the Action and negotiate a favorable Settlement for the
 3   Settlement Class. A more detailed account of the litigation and the work performed in this case is
 4   provided in the concurrently filed Plaintiffs’ Motion for Final Approval of Settlement, the
 5   concurrently filed Joint Declaration, and the billing summaries provided to the Court.
 6          B.      Requested Award

 7          Given these achievements after years of hard-fought litigation on challenging legal and
 8   factual grounds, and the lengthy and complex settlement process, Class Counsel respectfully move
 9   for an order granting: (1) Attorneys’ Fees in the amount of $21.25 million, which is 25% of the
10   non-reversionary Settlement Fund of $85 million; (2) reimbursement of $130,842.24 in litigation
11   expenses that were reasonably and necessarily incurred in prosecuting this Action; and (3) Service
12   Payments of $5,000 for each of the twelve Plaintiffs, totaling $60,000.
13          The requested fee amount is fair and reasonable in light of the recovery, the expeditious
14   prosecution of this Action, the challenges Plaintiffs faced in this consumer class action, the risk to
15   Class Counsel in representing Plaintiffs on a contingent basis, and the prevailing attorneys’ fee
16   jurisprudence in this District and Circuit. As the Court is aware, consumer class actions are risky,
17   and data privacy claims are difficult to value. Zoom is represented by a top-tier national law firm
18   that vigorously defended Zoom throughout the litigation. Nevertheless, Plaintiffs withstood a
19   motion to dismiss, prevailed in extensive discovery motion practice, and negotiated meaningful
20   recovery for the class during protracted, and ofter contentious, settlement discussions. Joint Decl.
21   ¶¶ 9-49.
22          These results are impressive considering that there was no guarantee that Plaintiffs would
23   have succeeded at class certification, summary judgment, or at trial. Id. ¶ 44. Despite such risk,
24   Class Counsel committed a substantial amount of time and resources to this Action without any
25   certainty of recovery. Id. ¶ 55. In the end, Class Counsel’s vigorous prosecution of this Action led
26   to a laudable result for Settlement Class Members, which supports the request for a 25% fee award.
27   A lodestar cross-check also supports the reasonableness of the requested fee, which represents a
28   multiplier of 3.17 on the total lodestar of $6,703,688.
      NOTICE OF MOT. AND MOT. FOR ATTYS’ FEES, EXPENSES, AND SERVICE PAYMENTS;                          4
                               CASE NO: 3:20-cv-02155-LB
 1           Plaintiffs also respectfully request that the Court award Service Payments of $5,000 to each
 2   of the twelve Plaintiffs, in recognition of their significant time and effort in pursuing the litigation
 3   and assisting with discovery in order to obtain a positive outcome for the Settlement Class. Id. ¶
 4   69.
 5           For the reasons articulated below, the requested fee and expense award, and service
 6   payments are fair and reasonable and should be approved.
 7   II.     THE COURT SHOULD AWARD ATTORNEYS’ FEES AND REIMBURSEMENT
             OF EXPENSES ADVANCED FOR THE BENEFIT OF THE CLASS
 8

 9           A.      Class Counsel Should Be Awarded Attorneys’ Fees from the Common Fund

10           Class Counsel negotiated a resolution that provides a common fund with a non-reversionary

11   Settlement Fund of $85 million and injunctive relief for members of the Settlement Class.

12   Accordingly, Class Counsel respectfully submit that an award of attorneys’ fees in the amount of

13   $21.25 million, or 25% of the Settlement Fund, is fair and reasonable.

14           “This Court has recognized consistently that a litigant or a lawyer who recovers a common

15   fund for the benefit of persons other than himself or his client is entitled to a reasonable attorney's

16   fee from the fund as a whole.” Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980). “When

17   counsel’s efforts result in the creation of a common fund that benefits a class, counsel have an

18   equitable right to be compensated from that fund as a whole.” Williamson v. Microsemi Corp., No.

19   5:14-CV-01827-LHK, 2015 WL 13650045, at *1 (N.D. Cal. Feb. 19, 2015). “It is well established

20   that a private plaintiff, or his attorney, whose efforts create, discover, increase or preserve a fund to

21   which others also have a claim is entitled to recover from the fund the costs of his litigation,

22   including attorneys’ fees.” Knight v. Red Door Salons, Inc., No. 08-01520 SC, 2009 WL 248367,

23   at *5 (N.D. Cal. Feb. 2, 2009) (internal quotation marks and citation omitted). “When counsel

24   recovers a common fund that confers a ‘substantial benefit’ on a class of beneficiaries, counsel is

25   ‘entitled to recover their attorney’s fees from the fund.’” Harrison v. Bank of Am. Corp., No. 19-

26   CV-00316-LB, 2021 WL 5507175, at *8 (N.D. Cal. Nov. 24, 2021) (citing Fischel v. Equitable

27   Life Assurance Soc’y, 307 F.3d 997, 1006 (9th Cir. 2002)). In granting fees, “a court must ensure

28   that attorney's fees and costs awarded to class counsel are ‘fair, reasonable and adequate.’” Russell
      NOTICE OF MOT. AND MOT. FOR ATTYS’ FEES, EXPENSES, AND SERVICE PAYMENTS;                             5
                               CASE NO: 3:20-cv-02155-LB
 1   v. United States, No. C 09-03239 WHA, 2013 WL 3988778, at *3 (N.D. Cal. Aug. 2, 2013) (citing
 2   Staton v. Boeing Co., 327 F.3d 938, 963–64 (9th Cir.2003)).
 3          B.      The Court Should Use the Percentage of the Fund Method To Calculate
 4                  Reasonable Attorneys’ Fees

 5          The percentage-of-the-fund method is the best method to determine the reasonableness of

 6   attorney’s fees requested here. Under Ninth Circuit law, “the district court has discretion in

 7   common fund cases to choose either the percentage-of-the-fund or the lodestar method.” Vizcaino

 8   v. Microsoft Corp., 290 F.3d 1043, 1047 (9th Cir. 2002); see also Williamson v. McAfee, Inc., No.

 9   5:14-cv-00158-EJD, 2017 WL 6033070, at *1 (N.D. Cal. Feb. 3, 2017). However, “despite this

10   discretion, use of the percentage method in common fund cases appears to be dominant.” Knight,

11   2009 WL 248367, at *5. “The use of the percentage-of-the-fund method in common-fund cases is

12   the prevailing practice in the Ninth Circuit for awarding attorneys’ fees and permits the Court to

13   focus on a showing that a fund conferring benefits on a class was created through the efforts of

14   plaintiffs’ counsel.” In re Korean Air Lines Co., Ltd. Antitrust Litig., No. CV 07-05107-SJO, 2013

15   WL 7985367, at *1 (C.D. Cal. Dec. 23, 2013).

16          Courts prefer the percentage method because it confers “significant benefits … including

17   consistency with contingency fee calculations in the private market, aligning the lawyers’ interests

18   with achieving the highest award for the class members, and reducing the burden on the courts that

19   a complex lodestar calculation requires.” Tait v. BSH Home Appliances Corp., No. SACV 10-

20   0711-DOC, 2015 WL 4537463, at *11 (C.D. Cal. July 27, 2015). By contrast, in a common fund

21   case, the “lodestar method does not necessarily achieve the stated purposes of proportionality,

22   predictability and protection of the class and can encourage unjustified work and protracting the

23   litigation.” Barnes v. The Equinox Grp., Inc., No. C 10-3586-LB, 2013 WL 3988804, at *3 (N.D.

24   Cal. Aug. 2, 2013).

25          The nature of this action warrants application of the percentage-of-the-fund approach, the

26   principal, and “prevailing practice in the Ninth Circuit,” to determine the reasonableness of Class

27   Counsel’s fee request. Korean Air Lines, 2013 WL 7985367, at *1. As the Court determined in

28   Barnes, “the percentage-of-the-fund method is appropriate where—as here—the amount of the
      NOTICE OF MOT. AND MOT. FOR ATTYS’ FEES, EXPENSES, AND SERVICE PAYMENTS;                        6
                               CASE NO: 3:20-cv-02155-LB
 1   settlement is fixed without any reversionary payment to the defendant.” Id., 2013 WL 3988804, at
 2   *3. The courts in this Circuit have similarly held that where the “benefit to the class is easily
 3   quantified in common-fund settlements,” district courts may “award attorneys a percentage of the
 4   common fund in lieu of the often more time-consuming task of calculating the lodestar.” Thomas
 5   v. MagnaChip Semiconductor Corp., No. 14-CV-01160-JST, 2018 WL 2234598, at *3 (N.D. Cal.
 6   May 15, 2018) (citing In re Bluetooth Headset Prod. Liab. Litig., 654 F.3d 935, 942 (9th Cir.
 7   2011)).
 8             Here, Class Counsel seek a percentage from the non-reversionary Settlement Fund of $85
 9   million, and the amount is fixed and easily quantifiable. Additionally, the percentage method is
10   appropriate given Class Counsel’s efficient litigation of this case. Barnes, 2013 WL 3988804, at
11   *3. These factors weigh in favor of employing the percentage of the fund method. See also
12   Destefano v. Zynga, Inc., No. 12-CV-04007-JSC, 2016 WL 537946, at *17 (N.D. Cal. Feb. 11,
13   2016) (“Because this case involves a common settlement fund with an easily quantifiable benefit
14   to the Class, the Court will primarily determine attorneys’ fees using the percentage method . . .”).
15             C.     The Requested Fee Award is Reasonable

16             In applying the percentage of the fund method, the Ninth Circuit has established 25% as a
17   benchmark for attorneys’ fee awards. See Harrison, 2021 WL 5507175, at *8; Vizcaino, 290 F.3d
18   at 1047; Powers v. Eichen, 229 F.3d 1249, 1257 (9th Cir. 2000); Hanlon v. Chrysler Group, Inc.,
19   150 F.3d 1011, 1029 (9th Cir. 1998); Williams v. MGM-Pathe Commc’ns Co., 129 F.3d 1026, 1027
20   (9th Cir. 1997). Even though the Ninth Circuit has established the 25% benchmark, “in most
21   common fund cases, the award exceeds that benchmark.” In re Omnivision Techs., Inc., 559 F.
22   Supp. 2d 1036, 1047 (N.D. Cal. 2008). “Where a court adopts the percentage method, absent
23   extraordinary circumstances that suggest reasons to lower or increase the percentage, the rate should
24   be set at 30%.” Id. at 1048 (internal quotation marks and citations omitted).
25             The Ninth Circuit has identified several factors a court should consider to determine

26   whether to award or adjust a fee award from the benchmark: (1) the results achieved; (2) the risk

27   of litigation; (3) the skill required and the quality of work; (4) the contingent nature of the fee and

28   the financial burden carried by the plaintiffs; and (5) awards made in similar cases. See Vizcaino,
      NOTICE OF MOT. AND MOT. FOR ATTYS’ FEES, EXPENSES, AND SERVICE PAYMENTS;                            7
                               CASE NO: 3:20-cv-02155-LB
 1   290 F.3d at 1048–50. Here, although Class Counsel request benchmark fees of 25%, an analysis

 2   of the Vizcaino factors confirms that the request is appropriate.

 3                     i.    Class Counsel Achieved an Exceptional Result for the Class

 4           “The overall result and benefit to the class from the litigation is the most critical factor in
 5   granting a fee award.” Omnivision, 559 F. Supp. 2d at 1046. Here, the overall result and the benefit
 6   to the Settlement Class, warrants an award of the benchmark 25% fees for Class Counsel. The
 7   Settlement Fund amount of $85 million is an excellent result – it represents approximately 8% of
 8   the total revenues collected based on the allegedly unlawful practices, and is reasonable in light of
 9   the significant risks of litigation. Joint Decl. ¶ 39.
10           All Settlement Class Members are eligible to make claims for cash. Paid subscribers (other
11   than Enterprise-Level or Government Accounts) will be eligible to receive 15% of the money they
12   paid to Zoom for their core Zoom Meetings subscription between March 30, 2016 and the
13   Settlement Date (July 30, 2021), or $25, whichever amount is greater (“Paid Subscription Claim”).
14   SA, Dkt. No. 191-1 ¶ 2.2(b). Class Members not eligible to submit a Paid Subscription Claim—
15   those who did not pay for the Zoom Meetings App—are eligible to make a “User Claim” for $15.
16   Id. ¶ 2.2(c).
17           Based on consultation with damage experts, the Settlement’s monetary benefit provides a
18   substantial recovery—particularly considering the risks of this case. For example, the 15%
19   recovery is significant considering the alleged end-to-end encryption misrepresentations concern
20   just one feature of Zoom services among the numerous benefits that Paid Subscribers received.
21   Moreover, the proposed payment of $15 to Settlement Class Members who never paid for Zoom is
22   within the ballpark of what consumers may be willing to receive in exchange for the type of data
23   the Second Amended Consolidated Complaint (“SAC”) alleges Zoom disclosed. See SAC, Dkt.
24   No. 179; Joint Decl. ¶ 39. The total monetary recovery of $85 million also represents a significant
25   percentage of the Class’ potential damages were they to prevail at trial, taking into account the
26   limited theories of recovery that were allowed to proceed following motions to dismiss, based
27   primarily on implied contract claims, and taking into account the significant risks of no recovery in
28   the event a class was not certified or the Class did not prevail at trial on their claims.
      NOTICE OF MOT. AND MOT. FOR ATTYS’ FEES, EXPENSES, AND SERVICE PAYMENTS;                           8
                               CASE NO: 3:20-cv-02155-LB
 1                    ii.   There Was Substantial Risk in this Litigation

 2          The risk associated with litigation is a key consideration in determining whether a requested
 3   fee award is reasonable. Vizcaino, 290 F.3d at 1048 (“Risk is a relevant circumstance” in applying
 4   the percentage of the fund method); see Eashoo v. Iovate Health Sciences U.S.A., Inc., No. CV-
 5   01726-BRO, 2016 WL 6205785, at *9 (C.D. Cal. Apr. 5, 2016) (internal quotation marks and
 6   citation omitted) (“The risk that further litigation might result in no recovery is a significant factor
 7   in assessing the fairness and reasonableness of an award of attorneys’ fees.”).
 8          Here, Class Counsel faced numerous hurdles throughout the litigation that could have
 9   substantially narrowed or precluded any recovery in this case. Class Counsel assumed the risk of
10   challenging Zoom, a well-resourced defendant that would have continued to vigorously defend its
11   business practices had the litigation gone forward. Zoom contested its liability from the very
12   beginning, asserting that Plaintiffs had failed to adequately allege any viable claims, filing multiple
13   motions to dismiss, and seeking to drastically limit the scope of the case after the Court’s Motion
14   to Dismiss (“MTD”) Order. Joint Decl. ¶ 55. Indeed, it was only through Class Counsels’ ingenuity
15   and diligence that Plaintiffs successfully defended Zoom’s motion to stay discovery and obtained
16   two orders requiring Zoom to review and produce hundreds of thousands of documents. Id.
17          The MTD Order illustrates the substantial risk that Plaintiffs would not be able to recover
18   anything through continued litigation. For example, the Court dismissed Plaintiffs’ claims to the
19   extent that they derive from Zoom’s status as a publisher or speaker, and to the extent that the claims
20   are not content-neutral. Dkt. No. 168 at 17-18. The Court concluded that “Section 230(c)(1) mostly
21   immunizes Zoom from Plaintiffs’ Zoombombing claims here” (id. at 18) and that the “bulk of
22   Plaintiffs’ Zoombombing claims lie against the ‘Zoombombers’ who shared heinous content, not
23   Zoom itself.    Zoom merely ‘provid[ed] neutral tools for navigating’ its service.” Id. at 19.
24   According to the Court, Plaintiffs’ criticism of Zoom’s default features, for example, amount to
25   claims based on Zoom’s failure to “edit or block user content,” which is activity immunized by
26   Section 230. Id. Thus, the Court dismissed Plaintiffs’ negligence cause of action, as it pertained
27

28
      NOTICE OF MOT. AND MOT. FOR ATTYS’ FEES, EXPENSES, AND SERVICE PAYMENTS;                            9
                               CASE NO: 3:20-cv-02155-LB
 1   to emotional distress caused by Zoombombing.2 The Court maintained, however, Plaintiffs’ breach
 2   of implied contract claim, through which Plaintiffs allege they did not obtain the benefit of their
 3   bargain in sharing their data with Zoom in exchange for a secure videoconferencing service. Id. at
 4   27; SAC, Dkt. No. 179 ¶¶ 217-31.
 5            With respect to the end-to-end encryption misrepresentation claims, the Court dismissed
 6   Plaintiffs’ fraud-based misrepresentation claims under the UCL and CLRA in its MTD Order, but
 7   it denied dismissal of the non-fraud allegations. Dkt. No. 168 at 34-37. Although Plaintiffs’ claims
 8   based on Zoom’s end-to-end encryption misrepresentations survived, Plaintiffs later would be
 9   required to demonstrate that these misrepresentations were material and consistent in order to
10   certify them. See, e.g., In re Tobacco II Cases, 46 Cal. 4th 298, 326 (2009).
11            The Court also dismissed Plaintiffs’ invasion of privacy claim, concluding Plaintiffs failed
12   to plead Zoom shared their personal data through the Facebook SDK, through Zoom’s android
13   application, or through the LinkedIn Sales Navigator. Dkt. No. 168 at 20. The Court required
14   Plaintiffs to show “what information, precisely [certain] third parties have obtained,” (id. at 23,
15   citation omitted), and held that failure to allege detailed information, such as versions of the Zoom
16   application and the operating systems used, rendered Plaintiff’s allegations inadequately pled. Id.
17   In response, the SAC provided further allegations regarding the dates and times Plaintiffs first
18   downloaded and used the Zoom application, and on their devices. SAC, Dkt. No. 179 ¶¶ 17-61;
19   Joint Decl. ¶ 22.   While Plaintiffs are confident that the amendments cured any pleading defects,
20   and that they would ultimately prove their case, the issues outlined by the Court would continue to
21   present challenges going forward, including at summary judgment.
22            Privacy damages are particularly uncertain and numerous privacy class actions have been
23   settled for non-monetary relief only. See, e.g., Campbell v. Facebook Inc., No. 13-CV-05996-PJH,
24   2017 WL 3581179, at *8 (N.D. Cal. Aug. 18, 2017) (granting final approval of declaratory and
25   injunctive relief settlement in litigation alleging Facebook engaged in user privacy violations),
26   aff’d, 951 F.3d 1106 (9th Cir. 2020); In re Google LLC St. View Elec. Commc'ns Litig., No. 10-
27

28   2
         The Court also held the economic loss rule barred the negligence claim. Dkt. No. 168 at 24.
         NOTICE OF MOT. AND MOT. FOR ATTYS’ FEES, EXPENSES, AND SERVICE PAYMENTS;                      10
                                  CASE NO: 3:20-cv-02155-LB
 1   MD-02184-CRB, 2020 WL 1288377, at *16 (N.D. Cal. Mar. 18, 2020) (granting final approval of
 2   settlement providing class with injunctive relief and creating a non-distributable cy pres settlement
 3   fund in litigation alleging Google violated privacy by illegally gathering Wi-Fi network data);
 4   McDonald, et al. v. Kiloo A/S, et al., No. 3:17-cv-04344-JD (N.D. Cal. Apr. 12, 2021), Dkt. No.
 5   406 (granting final approval of 16 injunctive relief-only settlements in related privacy class actions
 6   accusing defendants of violating child privacy protection laws by collecting and selling PII of
 7   children).
 8          Although Plaintiffs firmly believe their liability case is strong and that class certification is
 9   warranted, it is uncertain whether the Court ultimately would grant certification, deny a motion for
10   summary judgment filed by Zoom, or ever find that Plaintiffs are entitled to damages. Even if
11   Plaintiffs obtained class certification, successfully opposed a motion for summary judgment, and
12   subsequently proved liability at trial, they still would face the significant risk of recovering nothing
13   because the facts and amount of damages were uncertain. And even if Plaintiffs were to have
14   successfully obtained class certification, there is no assurance that Plaintiffs would have secured a
15   victory at trial and maintained it on appeal.
16          Given the anticipated disputes that would inevitably lie ahead, including class certification
17   and summary judgment, and given Zoom’s vigorous arguments as to the merits, it is not an
18   overstatement to say that the Plaintiffs faced significant risk. Importantly, even if anything were
19   recovered, it would take years to secure, as Zoom undoubtedly would appeal any adverse judgment.
20   In comparison, the Settlement provides a guaranteed, immediate, and substantial cash recovery of
21   $85 million, plus significant injunctive relief.
22          The risk of little or no recovery weighs in favor of the requested fee award. As courts in the
23   Ninth Circuit have concluded, there are considerable risks related to obtaining class certification,
24   surviving summary judgment, prevailing at trial, and “withstanding a potential appeal.” See Bower
25   v. Cycle Gear, Inc., No. 14-CV-02712-HSG, 2016 WL 4439875, at *7 (N.D. Cal. Aug. 23, 2016);
26   see also Destefano, 2016 WL 537946, at *17 (noting the “substantial” risk associated with
27   “obtaining [and maintaining] class certification”); Roberti v. OSI Sys., Inc., No. CV13-09174 MWF
28   (MRWx), 2015 WL 8329916, at *6 (C.D. Cal. Dec. 8, 2015) (the defendant’s “vigorous opposition”
      NOTICE OF MOT. AND MOT. FOR ATTYS’ FEES, EXPENSES, AND SERVICE PAYMENTS;                            11
                               CASE NO: 3:20-cv-02155-LB
 1   represented a “substantial” risk weighing in favor of the requested attorney’s fees).
 2                   iii.   The Settlement Required Skill and High-Quality Work

 3          Class Counsel’s experience and the skill they brought to bear in this case also favor the fee
 4   award. Together, Class Counsel have litigated complex consumer and privacy class actions for
 5   over four decades. Joint Decl. ¶¶ 1-2. Class Counsel have significant expertise in high-profile
 6   privacy cases and consumer class actions. See, e.g., privacy cases (In re Experian Data Breach
 7   Litig., No. SACV 15-01592 AG, 2017 WL 4325583 (C.D. Cal. May 18, 2017); In re Premera Blue
 8   Cross Customer Data Sec. Breach Litig., 296 F. Supp. 3d 1230 (D. Or. 2017); In re Google Inc.
 9   Cookie Placement Consumer Priv. Litig., 806 F.3d 125 (3d Cir. 2015); In re Vizio, Inc., Consumer
10   Priv. Litig., 238 F. Supp. 3d 1204 (C.D. Cal. 2017); In re: Lenovo Adware Litig., No. 15-MD-
11   02624-RMW, 2016 WL 6277245 (N.D. Cal. Oct. 27, 2016)) and other types of class actions arising
12   out of technological vulnerabilities (In re Apple Inc. Device Performance Litig., 386 F. Supp. 3d
13   1155 (N.D. Cal. 2019); In re Yahoo! Inc. S'holder Derivative Litig., 153 F. Supp. 3d 1107 (N.D.
14   Cal. 2015).
15          The quality of Class Counsel’s representation is reflected in the work they performed
16   throughout the case and, ultimately, in the favorable Settlement for the Settlement Class. “The
17   prosecution and management of a complex national class action requires unique legal skills and
18   abilities.” Omnivision, 559 F. Supp. 2d at 1047. See also Moreyra v. Fresenius Med. Care
19   Holdings, Inc., No. SACV-10-517-JVS, 2013 WL 12248139, at *3 (C.D. Cal. Aug. 7, 2013) (noting
20   that the result is “[t]he single clearest factor reflecting the quality of class counsels’ services”)
21   (quoting In re Heritage Bond Litig, No. 02-ML-1475-DT, 2005 WL 1594389, at *12 (C.D. Cal.
22   June 10, 2005)); see Wallace v. Countrywide Home Loans, Inc., No. SACV-08-1463 JLS, 2015 WL
23   13284517, at *9 (C.D. Cal. Apr. 17, 2015) (noting customary factors reflecting counsel’s skill such
24   as developing the facts and legal claims, conducting discovery, reviewing documents, retaining
25   experts, motion practice, and negotiating and drafting the settlement).
26           As discussed above, “[t]he settlement was not reached lightly,” as Zoom’s aggressive
27   defense required significant skill and experience to effectively navigate. Over the course of nearly
28   two years, Class Counsel aggressively pursued discovery, resulting in the review and analysis of
      NOTICE OF MOT. AND MOT. FOR ATTYS’ FEES, EXPENSES, AND SERVICE PAYMENTS;                         12
                               CASE NO: 3:20-cv-02155-LB
 1   thousands of pages of internal documents from Zoom. Joint Decl. ¶ 36. All this effort put Class
 2   Counsel in the best possible position to negotiate a favorable resolution for the class. Id. ¶ 44.
 3   Barbosa v. Cargill Meat Solutions Corp., 297 F.R.D. 431, 449 (E.D. Cal. 2013) (class counsel used
 4   their “specialized skill” in the particular area of law which represented an asset to class members
 5   and weighed in favor of the fee request); Omnivision, 559 F. Supp. 2d at 1047 (that Plaintiffs’ case
 6   withstood a motion to dismiss, “despite other weaknesses, is some testament to Lead Counsel’s
 7   skill. This factor also supports the requested fee.”); Heritage Bond, 2005 WL 1594403, at *19 (fact
 8   investigation, detailed complaints, extensive motion practice, review of numerous documents, and
 9   demonstrated class counsel’s legal skills); Lenovo, 2019 WL 1791420, at *8 (noting favorable result
10   given that the case had “been actively litigated for the past four years, and required complex legal
11   and factual research and analysis by Class Counsel”).
12          The quality of opposing counsel should also be considered when evaluating the performance
13   of Class Counsel. See In re Am. Apparel, Inc. S’holder Litig., No. CV-1006352-MMM, 2014 WL
14   10212865, at *22 (C.D. Cal. July 28, 2014) (“In addition to the difficulty of the legal and factual
15   issues raised, the court should also consider the quality of opposing counsel as a measure of the
16   skill required to litigate the case successfully.”) (citing Wing v. Asarco Inc., 114 F.3d 986, 989 (9th
17   Cir. 1997)). Zoom was represented in this case by Cooley, LLP, a highly respected national law
18   firm with significant resources and substantial experience defending privacy cases and consumer
19   class actions. This factor, therefore, weighs in favor of the requested fee award. See Heritage
20   Bond, 2005 WL 1594403, at *20 (“There is also no dispute that the plaintiffs in this litigation were
21   opposed by highly skilled and respected counsel with well-deserved local and nationwide
22   reputations for vigorous advocacy in the defense of their clients.”).
23                   iv.    Class Counsel Worked for Years on a Full Contingency Basis

24          Class Counsel took this matter on a contingency basis and advanced all necessary
25   professional time and expenses for nearly two years. Joint Decl. ¶¶ 55-67. In common fund cases,
26   “attorneys whose compensation depends on their winning the case must make up in compensation
27   in the cases they win for the lack of compensation in the cases they lose.” Vizcaino, 290 F.3d at
28   1051. “When counsel takes cases on a contingency fee basis, and litigation is protracted, the risk
      NOTICE OF MOT. AND MOT. FOR ATTYS’ FEES, EXPENSES, AND SERVICE PAYMENTS;                           13
                               CASE NO: 3:20-cv-02155-LB
 1   of non-payment after years of litigation justifies a significant fee award.” Bellinghausen v. Tractor
 2   Supply Co., 306 F.R.D. 245, 261 (N.D. Cal. 2015). “This substantial outlay, when there is a risk
 3   that none of it will be recovered, further supports the award of the requested fees.” In re Nexus 6P
 4   Prod. Liab. Litig., No. 17-CV-02185-BLF, 2019 WL 6622842, at *13 (N.D. Cal. Nov. 12, 2019)
 5   (quoting Omnivision, 559 F. Supp. 2d at 1047). “Courts have long recognized that the public
 6   interest is served by rewarding attorneys who assume representation on a contingent basis with an
 7   enhanced fee to compensate them for the risk that they might be paid nothing at all for their work.”
 8   Ching v. Siemens Indus. Inc., No. 11-cv-04838-MEJ, 2014 WL 2926210, at *8 (N.D. Cal. June 27,
 9   2014); see also In re Washington Pub. Power Supply Sys. Sec. Litig., 19 F.3d 1291, 1299 (9th Cir.
10   1994) (“It is an established practice in the private legal market to reward attorneys for taking the
11   risk of non-payment by paying them a premium over their normal hourly rates for winning
12   contingency cases.”). “A contingent fee must be higher than a fee for the same legal services paid
13   as they are performed. The contingent fee compensates the lawyer not only for the legal services he
14   renders but for the loan of those services.” Ladore v. Ecolab, Inc., No. CV 11-9386-FMO, 2013
15   WL 12246339, at *11 (C.D. Cal. Nov. 12, 2013).
16                    v.    The Award Requested is on Par with Awards in Similar Cases
17           The Settlement here compares favorably to other class action settlements alleging
18   violations of privacy and security. See, e.g., In re Google Plus Profile Litig., No. 5:18-CV-06164-
19   EJD, 2021 WL 242887 (N.D. Cal. Jan. 25, 2021) (settlement fund of $7.5 million for 161 million
20   Google+ users whose personal information was exposed); In re: Vizio, Inc., Consumer Privacy
21   Litigation, 8:16-ml-02693-JLS-KES (C.D. Cal. July 31, 2017) (settlement fund of $17 million for
22   16 million potential claimants for unauthorized collection and disclosure of information from
23   customers’ VIZIO smart TVs, including IP addresses and device identifiers); In re Linkedin User
24   Priv. Litig., 309 F.R.D. 573, 582 (N.D. Cal. 2015) (settlement fund of $1.25 million for claims
25   related to approximately 6.4 million LinkedIn users’ stolen account passwords who were influenced
26   by LinkedIn’s statements concerning security and paid for premium subscriptions). Furthermore,
27   Plaintiffs successfully obtained substantive and meaningful injunctive relief.
28          In comparable technology cases, courts in this district have awarded fees above the 25%
      NOTICE OF MOT. AND MOT. FOR ATTYS’ FEES, EXPENSES, AND SERVICE PAYMENTS;                         14
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 1   benchmark. Specifically, in a case involving Google and Hauwei’s joint venture to develop and
 2   sell the “Nexus 6P” smartphone, Judge Freeman concluded that “Plaintiffs’ request for a 30% fee
 3   falls within the usual range of common fund cases.” Nexus 6P, 2019 WL 6622842, at *13. Judge
 4   William Alsup has held that a 35% fee was reasonable in an action alleging consumer protection
 5   claims. Dugan v. Lloyds TSB Bank, PLC, No. C 12-02537-WHA, 2014 WL 1647652, at *3 (N.D.
 6   Cal. Apr. 24, 2014). Judge Koh has held that “a percentage of 27% should be applied to the $115
 7   million Settlement Fund” in a data breach case. In re Anthem, Inc. Data Breach Litig., No. 15-MD-
 8   02617-LHK, 2018 WL 3960068, at *16 (N.D. Cal. Aug. 17, 2018). The Court awarded one-third
 9   of the settlement fund in a consumer class action matter involving erroneous information on credit
10   reports. Patel v. Trans Union, LLC, No. 14-CV-00522-LB, 2018 WL 1258194, at *5 (N.D. Cal.
11   Mar. 11, 2018). Accordingly, Class Counsels’ request for 25% of the Settlement Fund is well
12   within the range of fees awarded in other cases, obtaining similarly exceptional results.
13   III.   A LODESTAR CROSS-CHECK CONFIRMS THE REASONABLENESS OF THE
14          REQUESTED FEES

15          If the court applies the percentage method, then it typically calculates the lodestar as a

16   “cross-check to assess the reasonableness of the percentage award.” See, e.g., Weeks v. Kellogg

17   Co., No. CV-09-8102-MMM, 2013 WL 6531177, at *25 (C.D. Cal. Nov. 23, 2013); See Vizcaino,

18   290 F.3d at 1050 (“Calculation of the lodestar, which measures the lawyers’ investment of time in

19   the litigation, provides a check on the reasonableness of the percentage award.”). Under a lodestar

20   cross-check, “the lodestar ... is produced by multiplying the number of hours reasonably expended

21   by counsel by a reasonable hourly rate.” Harrison, 2021 WL 5507175, at *8 (citations omitted).

22   The “court has broad discretion in setting the reasonable hourly rates used in the lodestar

23   calculation” and “can rely on its own experience.” Harrison, 2021 WL 5507175, at *9 (internal

24   quotation marks and citations omitted).

25          In performing the cross-check, however, “the determination of fees should not result in a

26   second major litigation,” and “trial courts need not, and indeed should not, become green-eyeshade

27   accountants. The essential goal ... is to do rough justice, not to achieve auditing perfection.” Jarrell

28   v. Amerigas Propane, Inc., No. 16-CV-01481-JST, 2018 WL 1640055, at *4 (N.D. Cal. Apr. 5,
      NOTICE OF MOT. AND MOT. FOR ATTYS’ FEES, EXPENSES, AND SERVICE PAYMENTS;                            15
                               CASE NO: 3:20-cv-02155-LB
 1   2018) (citations omitted); see also In re Capacitors Antitrust Litig., No. 3:17-md-02801-JD, 2018
 2   WL 4790575, at *6 (N.D. Cal. Sept. 21, 2018) (the cross-check does not require “mathematical
 3   precision nor bean-counting”) (citation omitted); In re Toys R Us-Del., Inc. – Fair and Accurate
 4   Credit Transactions Act (FACTA) Litig., 295 F.R.D. 438, 460 (C.D. Cal. 2014) (“In cases where
 5   courts apply the percentage method to calculate fees, they should use a rough calculation of the
 6   lodestar as a cross-check to assess the reasonableness of the percentage award.”).
 7          A.       The Number of Hours Devoted to the Case was Reasonable

 8          Pursuant to the Court’s initial appointment order, Class Counsel and Plaintiffs’ Steering
 9   Committee (“PSC”) maintained contemporaneous time records. Class Counsel collected and
10   audited all reported time on a regular basis. As reflected in these reports, Class Counsel performed
11   a significant amount of work in this Action, including preparing the consolidated complaints after
12   comprehensive legal, factual and technical research, opposing dispositive motions, consulting with
13   experts to improve Zoom’s Meetings app and transparency to Settlement Class Members, engaging
14   in extensive formal, hard-fought discovery, and participating in mediation and settlement
15   negotiations. Joint Decl. ¶¶ 53-57. Moreover, Class Counsel closely monitored the work and
16   assignments of members of the PSC to ensure fairness and order, as well as to minimize any work
17   duplication. Id. In total, following the respective appointment of lead counsel, Class Counsel
18   collectively devoted 9,993 hours on this matter through December 31, 2021. Id. at ¶ 59. This
19   lodestar also does not include any time spent by counsel in the California state court action, which
20   will be dismissed as part of this global resolution, and fees paid solely from any award made in this
21   Action to Class Counsel. Including California state counsel’s collective lodestar of $416,742.00,
22   the requested fee award would result in a multiplier of 2.98. Id. In light of the needs of the case
23   and the amount and quality of attorney work performed, the amount of hours spent is reasonable.
24   Id. at ¶¶ 53-57.
25          B.       The Hourly Rates are Reasonable

26          As the Supreme Court has stated, “[w]hen plaintiffs’ entitlement to attorney’s fees depends
27   on success, their lawyers are not paid until a favorable decision finally eventuates, which may be
28   years later….      Meanwhile, their expenses of doing business continue and must be met.”
      NOTICE OF MOT. AND MOT. FOR ATTYS’ FEES, EXPENSES, AND SERVICE PAYMENTS;                         16
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 1   Pennsylvania v. Delaware Valley Citizens’ Council, 483 U.S. 711, 716 (1987) (citations omitted).
 2   Accordingly, “[a]ttorneys in common fund cases must be compensated for any delay in payment.”
 3   Stanger v. China Elec. Motor, Inc., 812 F.3d 734, 740 (9th Cir. 2016) (quoting Fischel v. Equitable
 4   Life Assur. Society of U.S., 307 F.3d 997, 1010 (9th Cir. 2002)). As the Ninth Circuit in Washington
 5   Public Power provides, “[f]ull compensation requires charging current rates [for attorneys still at
 6   the firm] for all work done during the litigation, or by using historical rates [for those who left the
 7   firm prior to the filing of the fee petition] enhanced by an interest factor.” Id., 307 F.3d at 1305.
 8   See also Harrison, 2021 WL 5507175, at *9.
 9          The reasonable hourly rate is “the rate prevailing in the community for similar work
10   performed by attorneys of comparable skill, experience, and reputation.” Fowler v. Wells Fargo
11   Bank, N.A., No. 17-CV-02092-HSG, 2019 WL 330910, at *6 (N.D. Cal. Jan. 25, 2019). Judge Koh
12   has held that the hourly reasonable rate is between $400.00 to $970.00 for partners, $185.00 to
13   $850.00 for non-partner attorneys, including senior attorneys, of counsel, and associates, and
14   $95.00 to $440.00 for paralegals, law clerks, and litigation support staff. In re Anthem, Inc. Data
15   Breach Litig., No. 15-MD-02617-LHK, 2018 WL 3960068, at *16 (N.D. Cal. Aug. 17, 2018)). See
16   also, e.g., In re Yahoo! Inc. Customer Data Sec. Breach Litig., No. 16-MD-02752-LHK, 2020 WL
17   4212811, at *26 (N.D. Cal. July 22, 2020) ($450 to $900 for partners, $160 to $850 for non-partner
18   attorneys, including of counsel, associates, and staff/project attorneys, and $50 to $380 for
19   paralegals). Other courts in the Northern District have similarly found Class Counsel’s rates
20   reasonable. See, e.g., Dickey v. Advanced Micro Devices, Inc., No. 15-cv-04922-HSG, 2020 WL
21   870928, at *8 (N.D. Cal. Feb. 21, 2020) (rates between $275 and $1,000 for attorneys found
22   reasonable); In re Lidoderm Antitrust Litig., No. 14-MD-02521-WHO, 2018 WL 4620695, at *2
23   (N.D. Cal. Sept. 20, 2018) (rates between $300 and $1,050 for attorneys found reasonable); Kang
24   v. Wells Fargo Bank, N.A., No. 17-CV-06220-BLF, 2021 WL 5826230, at *17 (N.D. Cal. Dec. 8,
25   2021) (reasonable for class counsel to request rates of $325-$950).
26          Here, Class Counsel’s rates, as well as the rates of all members of the PSC, are in line with
27   the rates that have been recently awarded to similarly experienced counsel in this District. Joint
28   Decl. ¶¶ 61-62 (Class Counsel’s billing ranges were $675.00 to $950.00 for partners, $415.00 to
      NOTICE OF MOT. AND MOT. FOR ATTYS’ FEES, EXPENSES, AND SERVICE PAYMENTS;                           17
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 1   $640.00 for non-partner attorneys, including of counsel, and associates, and $150.00 to $440.00 for
 2   paralegals, law clerks, and litigation support staff). Id. ¶ 62. See also Cuviello v. Feld Entm't, Inc.,
 3   No. 13-cv-04951-BLF, 2015 WL 154197, at *2–3 (N.D. Cal. Jan. 12, 2015) (“court has broad
 4   discretion in setting the reasonable hourly rates used in the lodestar calculation”); Ketchum v.
 5   Moses, 24 Cal. 4th 1122, 1132 (2001) (court can rely on its own experience); accord Open Source
 6   Sec. v. Perens, 803 F. App'x 73, 77 (9th Cir. 2020).
 7          C.      The Multiplier is Justified Given the Results Obtained, the Complexity of the
 8                  Issues, and the Contingent Nature of the Representation

 9          Based on Class Counsel’s collective hours spent, and their reasonable and customary hourly

10   rates, they have a combined lodestar of $6,703,688. Joint Decl. ¶ 59. Thus, the requested award of

11   fees of $21.25 million represents a multiplier of 3.17. Id. If the California state counsel’s collective

12   lodestar of $416,742.00 was included, the requested fee award would result in a multiplier of 2.98.

13   Id.

14          Such multipliers are well within the range of multipliers that the Courts in the Ninth Circuit

15   and elsewhere regularly approve. See Vizcaino, 290 F.3d at 1051, & Appendix (approving

16   multiplier of 3.65 and citing cases with multipliers as high as 19.6); In re Volkswagen “Clean

17   Diesel” Mktg., Sales Pracs., & Prod. Liab. Litig., No. 2672 CRB, 2017 WL 1047834, at *5 (N.D.

18   Cal. Mar. 17, 2017) (“‘Multipliers in the 3-4 range are common in lodestar awards for lengthy and

19   complex class action litigation.’”) (quoting Van Vranken v. Atlantic Richfield Co., 901 F. Supp.

20   294, 298-99 (N.D. Cal. 1995)); Gutierrez v. Wells Fargo Bank, N.A., No. C 07-05923 WHA, 2015

21   WL 2438274, *7 (N.D. Cal. May 21, 2015) (Judge Alsup applied a 5.5 multiplier to lead counsel’s

22   lodestar based on “the fine results achieved on behalf of the class, the risk of non-payment [lead

23   counsel] accepted, the superior quality of their efforts, and the delay in payment.); In re Nat’l

24   Collegiate Athletic Ass’n Athletic Grant-in-Aid Antitrust Litig., 768 F. App’x 651, 653 (9th Cir.

25   2019) (approving 3.66 multiplier in $200 million settlement); Steiner v. Am. Broad. Co., 248 F.

26   App’x 780, 783 (9th Cir. 2007) (even a multiplier of 6.85 was “well within the range of multipliers

27   that courts have allowed”); Craft v. County of San Bernardino, 624 F. Supp. 2d 1113, 1125 (C.D.

28   Cal. 2008) (upholding 25% of the fund award resulting in a multiplier of approximately 5.2, and
      NOTICE OF MOT. AND MOT. FOR ATTYS’ FEES, EXPENSES, AND SERVICE PAYMENTS;                            18
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 1   citing cases in support.)
 2          Here, given the extensive effort required, the Settlement’s excellent results, in the face of
 3   the risks presented and the complexity of the issues this litigation entailed, the lodestar cross-check
 4   and multiplier are appropriate. Moreover, the multiplier is well within the range of multipliers that
 5   courts approve.
 6   IV.    CLASS COUNSEL SHOULD BE REIMBURSED FOR THEIR REASONABLE
 7          LITIGATION EXPENSES

 8          An attorney is also entitled to recover as part of the award of attorney’s fees “those out-of-

 9   pocket expenses that would normally be charged to a fee paying client.” Harris v. Marhoefer, 24

10   F.3d 16, 19 (9th Cir. 1994) (quotations omitted). The expenses incurred were reasonable and

11   necessary for prosecuting this case and courts have frequently found such expenses to be

12   recoverable. See, e.g., In re LendingClub Sec. Litig., No. C 16-02627 WHA, 2018 WL 4586669,

13   at *3 (N.D. Cal. Sept. 24, 2018) (expenses such as expert and consultant fees, court fees, travel and

14   lodging costs, legal research fees, and copying expenses were reasonable and recoverable); Thomas,

15   2018 WL 2234598, at *4 (granting requests for costs consisting of “court fees, online research fees,

16   postage and copying, travel costs, electronic discovery expenses, deposition costs, mediation

17   charges, and travel costs”). “Reasonable costs and expenses incurred by an attorney who creates

18   or preserves a common fund are reimbursed proportionately by those class members who benefit[.]”

19   In re Media Vision Tech. Sec. Litig., 913 F. Supp. 1362, 1366 (N.D. Cal. 1995) (citation omitted).

20          Here, Class Counsel have incurred $130,842.24 in unreimbursed litigation expenses,

21   including costs advanced in connection with consultants, legal research, court reporting services,

22   copying and mailing, and other customary litigation expenses. Joint Decl. ¶ 66. The expenses for

23   which Class Counsel seek reimbursement were reasonably necessary for the continued prosecution

24   and resolution of this litigation and were incurred for the benefit of the Settlement Class Members

25   with no guarantee that they would be reimbursed. They are reasonable in amount and the Court

26   should approve their reimbursement.

27    V.    THE REACTION OF THE SETTLEMENT CLASS IS OVERWHELMINGLY
            POSITIVE
28
      NOTICE OF MOT. AND MOT. FOR ATTYS’ FEES, EXPENSES, AND SERVICE PAYMENTS;                            19
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 1          The reaction of the Settlement Class has been very favorable to date. The notice program
 2   reached over 143 million Zoom users, as of January 26, 2022. Azari Decl. ¶ 47. Only one objection
 3   concerning the Settlement has been submitted to the Court. Dkt. No 206. With respect to attorney’s
 4   fees, the objection merely claims the amount requested is too high without providing any
 5   meaningful reasoning. Id. The objection does not take issue with the request for reimbursement
 6   of expenses or the Service Payments requests. Id. The minimal objections, representing 0.0001%
 7   of the Settlement Class, and the overall favorable reaction to the Settlement, greatly weigh in favor
 8   of granting the requests.
 9   VI.    THE REQUESTED CLASS REPRESENTATIVE SERVICE PAYMENTS ARE
10          REASONABLE AND JUSTIFIED

11          Service payments are “intended to compensate class representatives for work undertaken on

12   behalf of a class” and “are fairly typical in class action cases.” In re Online DVD-Rental Antitrust

13   Litig., 779 F.3d 934, 943 (9th Cir. 2015) (internal quotation marks and citation omitted). “In this

14   district, a $5,000 incentive award is presumptively reasonable.” Harrison, 2021 WL 5507175, at

15   *7. Here, Class Counsel request Service Payments of $5,000 for each of the twelve Plaintiffs in

16   this Action. The request is in-line with the “presumptively reasonable” incentive payment. Id.

17          In considering whether to make a service payment, courts consider “the actions the plaintiff

18   has taken to protect the interests of the class, the degree to which the class has benefitted from those

19   actions, … and the amount of time and effort the plaintiff expended in pursuing the litigation.”

20   Johnson v. Fujitsu Tech. & Bus. of Am., Inc., No. 16-CV-03698-NC, 2018 WL 2183253, at *8

21   (N.D. Cal. May 11, 2018) (alterations and citation omitted); Lenovo, 2019 WL 1791420, at *9-10

22   (same). Here, Plaintiffs were willing to step forward to represent and protect the interests of the

23   Settlement Class by spending over a year prosecuting this Action, including many hours reviewing

24   pleadings, communicating regularly with Class Counsel, responding to requests for information for

25   settlement discussions or discovery requests, and reviewing and producing documents. Plaintiffs

26   were instrumental in the drafting of the SAC, making themselves available, including weekends,

27   for extensive discussions with Class Counsel and reviewing the consolidated complaints before

28   filing. Plaintiffs worked closely with Class Counsel, through the holidays in 2020, to provide
      NOTICE OF MOT. AND MOT. FOR ATTYS’ FEES, EXPENSES, AND SERVICE PAYMENTS;                            20
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 1   responses to Zoom’s requests for production of documents, interrogatories, and requests for
 2   admission. Plaintiffs further engaged in several rounds of document collection, including working
 3   with a third-party vendor for document collection, sometimes lasting hours and spanning multiple
 4   sessions. Joint Decl. ¶ 69.
 5          Courts have awarded service payments for similar work on behalf of the class and time
 6   commitments. Moreover, Plaintiffs seek only $60,000, or 0.07%, of the $85 million Settlement
 7   Fund. This amount is reasonable considering how small the award is in relation to the full amount
 8   of the Settlement Fund. Finally, the Settlement does not improperly grant preferential treatment to
 9   Plaintiffs or segments of the Settlement Class. In re Portal Software, Inc. Sec. Litig., No. C 03-
10   5138 VRW, 2007 WL 1991529, at *6 (N.D. Cal. June 30, 2007). Because Plaintiffs’ Service
11   Payment request “is in line with precedent,” Allagas v. BP Solar Int’l, Inc., No. 3:14-cv-00560-SI
12   (EDL), 2016 WL 9114162, at *4 (N.D. Cal. Dec. 22, 2016) (citations omitted), the Court should
13   therefore grant Service Payments to each of the twelve Plaintiffs.
14   VII.   CONCLUSION

15          As stated above, Class Counsel devoted thousands of hours to the litigation, including
16   substantial time spent before they were appointed as Co-Lead Counsel. As a result of their hard
17   work and vigorous prosecution, they successfully negotiated an extremely favorable settlement
18   including both an $85 million non-reversionary cash fund and over sixteen substantive and
19   meaningful injunctive relief terms. Based on these circumstances, and consistent with the factors
20   applied by federal courts, including in the Northern District of California, Class Counsel
21   respectfully request that the Court issue an order awarding $21.25 million in attorneys’ fees,
22   approving reimbursement of $130,842.24 in advanced litigation expenses, and awarding Services
23   Payments of $5,000 to each of the twelve Plaintiffs.
24                                              Respectfully submitted,
25   DATED: January 28, 2022
                                                  /s/ Mark C. Molumphy
26                                                   Mark C. Molumphy

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      NOTICE OF MOT. AND MOT. FOR ATTYS’ FEES, EXPENSES, AND SERVICE PAYMENTS;                       21
                               CASE NO: 3:20-cv-02155-LB
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17
                                     Interim Co-Lead Class Counsel for
18                                   the Settlement Class

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     NOTICE OF MOT. AND MOT. FOR ATTYS’ FEES, EXPENSES, AND SERVICE PAYMENTS;   22
                              CASE NO: 3:20-cv-02155-LB
 1                 ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)
 2          I, Mark C. Molumphy, attest that concurrence in the filing of this document has been
 3   obtained from the other signatory. I declare under penalty of perjury under the laws of the United
 4   States of America that the foregoing is true and correct.
 5          Executed this 28th day of January 2022, at Burlingame, California.
 6

 7                                                    /s/ Mark C. Molumphy
 8                                                       Mark C. Molumphy
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